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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:05CR173 MAC/DDB
                                                  §
 JERRY MATTHEWS GRIFFIN (6)                       §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 30, 2016, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by

 Camelia Lopez.

        On October 18, 2006, Defendant was sentenced by the Honorable Marcia A. Crone, United

 States District Judge, to a sentence of 102 months imprisonment followed by a 3-year term of

 supervised release for the offense of Conspiracy to Distribute or Dispense or Possess with Intent to

 Distribute or Dispense Cocaine Base and Marijuana. Defendant began his term of supervision on

 March 8, 2013.

        On February 22, 2016, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender under Supervision (the “Petition”) (Dkt. 951). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use

 of a controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute or administer any other controlled substance or any paraphernalia


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 related to any controlled substances, except as prescribed by a physician; and (3) Defendant shall

 answer truthfully all inquiries by the probation officer and follow the instructions of the probation

 officer.

            The Petition alleges that Defendant committed the following violations: (1) Defendant

 submitted urine specimens on October 29, December 14, 16, 21, and 28, 2015, which tested positive

 for marijuana. Alere Laboratories Toxicology Interpretation Report indicates Defendant reused

 marijuana prior to the December 14, 21, and 28, 2015, collections. The December 16, 2015, results

 were inconclusive; (2) On October 29, 2015, Defendant was instructed by Senior U.S. Probation

 Officer Linda Werner to not have contact with Shonta Grover, his ex-girlfriend, due to the

 relationship being unhealthy and numerous contacts made to law enforcement regarding incidents

 that occurred between Defendant and Ms. Grover. During an unannounced home visit on November

 10, 2015, Ms. Grover’s vehicle was parked at his residence, a woman’s clothing was found in

 Defendant’s apartment, and someone was in the restroom at the time of the visit who was believed

 to be Ms. Grover.

            At the hearing, Defendant entered a plea of true to the allegations. Defendant waived his

 right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                        RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

 presented at the March 30, 2016 hearing, the Court recommends that Defendant be committed to the

 custody of the Bureau of Prisons to be imprisoned for a term of six (6) months, with no supervised




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     release to follow. Defendant was ordered to surrender to the Collin County Jail by 5:00 p.m. on

     March 30, 2016.

           SIGNED this 7th day of April, 2016.

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                                                 ____________________________________
                                                 DON D. BUSH
                                                 UNITED STATES MAGISTRATE JUDGE




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